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                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                   §                Chapter 11
                                         §
Free Speech Systems LLC                  §              Subchapter V
                                         §
         Debtor.                         §          Case No. 22-60043 (cml)


                       IN THE UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

In re:

NEIL HESLIN, SCARLETT LEWIS,
LEONARD POZNER, VERONIQUE DE LA
ROSA, MARCEL FONTAINE,

         Plaintiffs,

v.                                                ADVERSARY NO. 22-06017

ALEX E. JONES, FREE SPEECH
SYSTEMS, LLC, PQPR HOLDINGS
LIMITED, LLC, PLJR HOLDINGS, LLC,
PLJR HOLDINGS LIMITED, LLC, CAROL
JONES, DAVID JONES, AEJ HOLDINGS,
LLC AEJ TRUST 2019,

Defendants.



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 DAVID WHEELER, FRANCINE
 WHEELER, JACQUELINE BARDEN,
 MARK BARDEN, NCOLE HOCKLEY, IAN
 HOCKLEY, JENNIFER HENSEL, DONNA
 SOTO, CARLEE SOTOPARISI, CARLOS
 M. SOTO, JILLIAN SOTO, WILLIAM
 SHERLACH, ROBERT PARKER,
 WILLIAM ALDENBERG,

 Intervenors.


  JOINT-STIPULATION AND AGREED ORDER ABATING MOTION TO REMAND


        Plaintiffs Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (the “Texas Plaintiffs”), Intervenors David Wheeler, Francine Wheeler, Jacqueline

Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto

Parisi, Carlos M. Soto, Jillian Soto, William Sherlach, Robert Parker, and William Aldenberg (the

“Intervenors”), Defendant Free Speech Systems, LLC, (“Defendant” and collectively with the

Plaintiffs and the Intervenors, the “Parties”), present this Joint-Stipulation and Agreed Order

Abating Motion to Remand (the “Stand-Still Agreement”) as follows.

        WHEREAS, on April 6, 2022, the Texas Plaintiffs sued Alex Jones and the other

Defendants under the Texas Uniform Fraudulent Transfer Act in state court (the “TUFTA Case”).

The Intervenors later intervened in the TUFTA Case in June of 2022.

        WHEREAS, on July 29, 2022, Free Speech Systems, LLC (“FSS”) petitioned for relief

under chapter 11, subchapter V within the United States Bankruptcy Court for the Southern District

of Texas.

        WHEREAS, on October 27, 2022, Defendant removed the TUFTA Case from state court

to this Court, with the alleged jurisdictional basis for the removal being the Court’s “related-to”

jurisdiction.



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        WHEREAS, on November 28, 2022, the Texas Plaintiffs filed their Motion for Abstention

and Remand (the “Remand Motion”). Subsequently, the Intervenors filed their joinder to the

Remand Motion.

        WHEREAS, in order to conserve the resources of the Parties and of the Court, and to

ensure that the question of the Remand Motion is decided at the appropriate time, the Parties

hereby agree to as follows.

        NOW, THEREFORE, it is hereby AGREED THAT:

        1.      The time to file any papers in response to the Remand Motion is hereby adjourned

until fifteen (15) days after the earlier of:

                    a. Confirmation of FSS’s plan of reorganization;
                    b. Conversion of FSS’s bankruptcy case to a liquidating proceeding under
                       chapter 7;
                    c. Dismissal of FSS’s bankruptcy case;
                    d. A stipulation terminating the Stand-Still Agreement signed by the Parties;
                       or
                    e. An order of the Bankruptcy Court terminating the Stand-Still Agreement
                       for good cause shown.

        2.    This Stand-Still Agreement is subject to Bankruptcy Court approval. In the
event the Bankruptcy Court denies approval of this Stand-Still Agreement, this Stand-Still
Agreement shall be deemed null and void.

        3.      Nothing in this Stand-Still Agreement, or in the circumstances that gave rise
to this Stand-Still Agreement, shall be construed as an acknowledgement by any Party to
this Stipulation that any claim, pleading, responsive pleading, or otherwise, has or has not
been barred, or is about to be barred by a statute of limitations, laches, or other defense
based on the lapse of time.

        4.     This Stand-Still Agreement shall not operate as an admission of liability or
acknowledgement of any defense by any Party. Neither this Stand-Still Agreement nor any
action taken pursuant to this Stand-Still Agreement shall be offered or received in evidence
in any action or proceeding as an admission of liability or acknowledgment of any defense
by any Party to this Stand-Still Agreement.

       5.      This Stand-Still Agreement comprises the entire agreement of the Parties
with respect to the subject matter of this Stand-Still Agreement. This Stand-Still Agreement


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may be modified, amended, or supplemented only by a written instrument signed by each of
the Parties to this Stand-Still Agreement.

        6.      Each Party to this Stipulation represents, warrants, and states that all legal
action necessary for the effectuation and execution of this Stipulation has been validly taken
and that the individuals whose signatures appear below on behalf of each Party are duly
authorized to execute this Stipulation on behalf of their respective Parties.

        7.     The Bankruptcy Court retains jurisdiction with respect to all matters arising
from or related to the implementation of this Stand-Still Agreement, and the Parties hereby
consent to such jurisdiction to resolve any disputes or controversies arising from or related
to this Stand-Still Agreement.

                                             ###



Agreed as to form and substance

Dated: November 28, 2022

/s/ Raymond W. Battaglia
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William Sherlach, and Robert Parker




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